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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


GANNETT SATELLITE INFORMATION
NETWORK,

                Plaintiff,                                     Case No. 22-cv-475-BAH
        v.

 U.S. DEPARTMENT OF JUSTICE,

                Defendant.




      DEFENDANT’S RESPONSE TO PLAINTIFF’S STATEMENT OF MATERIAL
 FACTS SUPPORT OF ITS SECOND CROSS-MOTION FOR SUMMARY JUDGMENT

       Pursuant to Local Civil Rule 7(h)(1), Defendant United States Department of Justice

respectfully submits the following responses to Plaintiff’s statement of material facts:


        1.      On April 9, 2021, USA TODAY filed a FOIA request with the Department of

 Justice for “all information submitted to BJS under the Mortality in Correctional Institutions

 program” from 2010 to the date of the request. Caruso Decl. Ex. 1.


       Response: Undisputed.


        2.      On April 13, 2021, DOJ denied the request under FOIA Exemption 3 via Title I

 of the Crime Control Act, 34 U.S.C. § 10231. Caruso Decl. Ex. 2.


       Response: Undisputed.


        3.      On April 14, 2021, USA TODAY administratively appealed that denial. Caruso

 Decl. Ex. 3.
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       Response: Undisputed.


        4.      On December 3, 2021, DOJ affirmed its denial. Caruso Decl. Ex. 4.


       Response: Undisputed.


        5.      After the Court granted USA TODAY’s first summary judgment motion and

 denied DOJ’s first summary judgment motion, DOJ produced records in response to USA

 TODAY’s request. Caruso Decl. ¶ 10.


       Response: Undisputed.


        6.      The production consisted of a spreadsheet with the following fields: name, date

 of birth, state, date of death, the facility where they died, gender, race, date of admission,

 offenses committed, whether they had stayed in a mental facility, where the inmate died (e.g., if

 they died in general housing, a medical center, etc.), whether their cause of death was evaluated,

 what the cause of death was, additional information about the cause of death (e.g., if an illness,

 what the illness was), medical treatment received, and a short narrative. Caruso Decl. ¶ 27. See

 also DOJ’s FOIA reading room, https://www.ojp.gov/program/ojp-freedom-information-

 act/ojp-reading- room.


       Response: Undisputed, except that Defendant notes that several of the fields Plaintiff

mentions are spread over more than one column (e.g., “date of birth” includes separate columns

for month, day, and year).


        7.      The spreadsheet contains information regarding 16,625 inmates. Caruso Decl. ¶

 16.
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       Response: Undisputed.


         8.      DOJ redacted the state of death in 22 percent of the entries. Caruso Decl. ¶ 21.


       Response: Undisputed.


         9.      DOJ redacted the facility of death in 58 percent of the entries. Caruso Decl. ¶ 23.


       Response: Undisputed.


         10.     DOJ redacted the illness in 11,499 out of the 13,504 entries where the inmate

 died of an illness. Caruso Decl. ¶ 25.


       Response: Undisputed.


         11.     DOJ redacted all the names, ages, and narrative descriptions of the inmates’

 deaths. Caruso Decl. ¶¶ 18, 27.


       Response: Undisputed, except that Defendant notes that there was no single variable for

“age” in the dataset, and that the redacted notes column is not necessarily a “narrative” description

of the inmates’ deaths. The dataset includes the month, day, and year of the inmate’s birth and

death, from which age at death can be derived.


         12.     Other fields, such as cause of death and criminal convictions, are also heavily

 redacted.     Caruso    Decl.     ¶      25;   see   also     DOJ’s     FOIA      reading    room,

 https://www.ojp.gov/program/ojp-freedom-information-act/ojp-reading-room.


         Response: Undisputed that other fields are also redacted; Plaintiff’s assessment that the

redactions were “heavy” is a statement of opinion, not fact.
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         13.     The currently-redacted information is necessary for reporters to follow up on

 specific deaths, identify trends in particular facilities, and determine whether the neediest facilities

 are receiving adequate federal government resources. Caruso Decl. ¶¶ 19-26.


         Response: Undisputed that Caruso states that the name field is necessary for reporters

to follow up on specific deaths; that the facility name is needed to tally deaths at specific facilities;

that the date of birth field is necessary for his assessment of the types of aid the federal

government “should” give to state and local correctional facilities; that the state field is necessary,

in his opinion, to public understanding of whether the federal government is properly directing

resources to the states that need them most; and that is it difficult to understand whether

unspecified “federal interventions” are effective in preventing inmate deaths without knowing

inmates’ causes of death. Caruso does not offer an opinion about any other currently redacted

fields in the paragraphs cited.


         14.     BJS did not compile the data responsive to USA TODAY’s FOIA request for

 law enforcement purposes. Report of the Attorney General Pursuant to Section 6(e) of Executive

 Order 14074, 4 (Sept. 16, 2022), https://bja.ojp.gov/doc/DOJ-Implementation-of-DCRA-of-

 2013.pdf (“AG Report”).


         Response: Undisputed.


         15.     13,504 of the 16,625 inmates referenced in the responsive data died due to illness.

 Caruso Decl. ¶ 25.


         Response: Undisputed.


         16.     All the inmates referenced in the responsive data are deceased. Carson Decl. ¶ 6,
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 ECF No. 35-3.


        Response: Undisputed.


        17.      Gina Barton is a veteran USA TODAY investigative journalist with decades of

 experience reporting on carceral deaths. Barton Decl. ¶¶ 4-5.


        Response: Undisputed.


        18.      Over her career Barton has “contacted dozens of people whose loved ones died

 in jails and prisons.” Barton Decl. ¶ 6.


        Response: Undisputed.


        19.      Not one complained that she was invading their privacy, and all wanted the

 public to know the truth about what happened to their family members. Barton Decl. ¶ 6.


        Response: Undisputed.


        20.      All the family members Barton contacted supported Barton’s disclosing the very

 type of information DOJ continues to redact, such as the inmate’s name, age at death, cause of

 death, and past convictions. Barton Decl. ¶ 6.


        Response: Disputed. Barton states that the family members she contacted supported

disclosing the inmate’s name, age, cause of death, and the crimes they had been convicted of. She

does not state that they supported disclosing any other particular information (such as private

medical information).


        21.      In several cases, Barton’s reporting has helped hold accountable people
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 responsible for the inmates’ deaths, an outcome the relatives fully support. Barton Decl. ¶ 6.


        Response: Undisputed that Barton states that the family members she contacted hoped

that her reporting would help hold accountable those responsible for the deaths of their relatives,

and that “in many cases, it did.” Disputed to the extent that Barton does not provide any further

specifics to substantiate her claims about the effects of her reporting.


         22.      Barton reported on the death of Jeremy Cunningham. Barton Decl. ¶ 7.


         Response: Undisputed.


         23.      In her reporting, Barton told the story of the details surrounding Cunningham’s

 death, including that he had “turned himself in” for a parole violation and “told nurses he had

 used both alcohol and narcotics within the past eight hours.” Due to his drug and alcohol use,

 Barton reported, nurses instructed that he be monitored every four hours for 72 hours. But that

 did not happen, even after his cellmate pressed an emergency button. Cunningham passed away

 shortly thereafter. Gina Barton, Deaths in Detention: Improper, inadequate treatment results in

 deaths of sick prisoners, Milwaukee Journal          Sentinel        (Feb. 4,      2014)

 https://www.jsonline.com/story/archives/2021/08/23/deaths-detention-inadequate-treatment-

 leads-death-sick-prisoners-milwaukee/1291637001.


         Response: Undisputed.


         24.      Cynthia Telford, the mother of Jeremy Cunningham, was happy Barton contacted

 her because Telford “wanted the information about my son’s death to be made public.” Telford

 Decl. ¶¶ 4, 7.
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         Response: Undisputed.


         25.     Telford fully supported Barton’s including in her story all the details surrounding

 Cunningham’s death, and provided an on-the-record interview. Telford Decl. ¶ 8.


         Response: Undisputed.


         26.     After Barton’s story was published, Telford viewed as a “positive outcome[]” that

 she “received phone calls from parents all over the country who wanted to know how they could

 connect with journalists to get their children’s stories out in public.” Telford Decl. ¶¶ 9, 10.


         Response: Undisputed.


         27.     Telford viewed as a “positive outcome[]” that the Wisconsin legislature enacted a

 statute that has prevented others from dying in similar ways. Telford Decl. ¶¶ 9, 10.


         Response: Undisputed that Telford expressed that opinion. Disputed in so far as Telford

does not specify the statute, or provide any information on its effects.


         28.     Barton’s stories also helped Telford secure legal representation and seek justice

 against individuals responsible for Cunningham’s death. Telford Decl. ¶ 11.


       Response: Undisputed.


         29.     A UCLA study on COVID-19 deaths in state and local facilities found that 29 of

 42 states released the deceased inmate’s name. Caruso Decl. ¶ 29.


       Response: Disputed. The link cited in Caruso’s declaration leads to a folder containing

what appears to be several spreadsheets, and does not state that 29 or 42 states released the
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deceased inmate’s name. The website for the project Caruso references states that 27 states

provided         a      name      for    individual      deaths      in      their     prisons.      See

https://github.com/uclalawcovid19behindbars/custodial_mortality_project/tree/main.


           30.       Many states issue press releases shortly after an inmate dies that conveys the

 precise information DOJ now withholds, typically including the inmate’s name, age, cause of

 death, facility at death, and past convictions. See, e.g., Barton Decl. Exs. 2, 3, 5, 7, 10, 16, 20, 29,

 41, 46.


           Response: Undisputed that some states have issued press releases containing the

information Plaintiff references. Disputed to the extent Plaintiff seeks to imply that states issue

such press releases in all cases or routinely, or that such press releases always or routinely contain

the information specified.


           31.       Several states even publish extensive databases containing the same type of

 information DOJ now withholds. Barton Decl. ¶ 9.


           Response: Undisputed that Florida, Illinois, Montana, and Texas publish some death-in-

custody information. The evidence Plaintiff cites does not show that those states publish the

information that Defendant has redacted in this case. Defendant also notes that its redactions in

this case prevent other, unredacted information released to Plaintiff from being identified to a

particular decedent; the evidence Plaintiff cites does not show that any state publishes the full

information Plaintiff seeks in a form identifiable to particular individuals. The evidence Plaintiff

cites also does not establish that any other states publish any death-in-custody information.


           32.       The Texas Attorney General’s Office hosts a “Custodial Death Report” database
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 containing nearly 20,000 entries. The main database lists the decedent’ name and date of death.

 Clicking on the decedent’s name then reveals substantial information about the decedent and their

 cause of death. See Custodial Death Report, Texas Office of the Attorney General,

 https://oag.my.site.com/cdr/cdrreportdeaths.


       Response: Undisputed that the Texas Attorney General’s Office hosts the referenced

database. Disputed in so far as Plaintiff’s assessment that the information provided is

“substantial” is a matter of opinion not fact.


         33.     Thousands of inmates die each year, most in state or local facilities. See E. Ann

 Carson, Mortality in State and Federal Prisons, 2001-2019 – Statistical Tables, Bureau of Justice

 Statistics, 1 (Dec. 2021), https://bjs.ojp.gov/content/pub/pdf/msfp0119st.pdf; E. Ann Carson,

 Mortality in Local Jails, 2000-2019 – Statistical Tables, Bureau of Justice Statistics, 1 (Dec.

 2021), https://bjs.ojp.gov/content/pub/pdf/mlj0019st.pdf.


       Response: Undisputed.


         34.     The Bureau of Justice Statistics launched the Mortality in Correctional

 Institutions Program (“MCI” or the “Program”) in 2000 after Congress passed the first iteration

 of the Death in Custody Reporting Act (“DCRA”). AG Report at 2.


       Response: Undisputed.


         35.     Under the MCI Program, BJS collected the following data as required by DCRA:

 the name, gender, race, ethnicity, and age of the deceased; the date, time, and location of death;

 and a brief description of the circumstances surrounding the death; AG Report at 2; see also Death

 in Custody Reporting Act of 2000, Pub. L. No. 106-297, 114 Stat. 1045 (2000), ¶2 (“DCRA
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 2000”).


       Response: Undisputed.


           36.   BJS continued collecting essentially the same data under the Program after

 DCRA 2000 expired in 2006. It made that decision because “mortality of individuals within the

 criminal justice system was of great importance” to BJS. AG Report at 2; see also Mortality in

 Correctional Institutions (MCI) (Formerly Deaths in Custody Reporting Program (DCRP)),

 Changes Over Time, https://bjs.ojp.gov/data-collection/mortality-correctional-institutions-mci-

 formerly-deaths-    custody-reporting-program#changes-over-time-0           (noting   additions   to

 questionnaires of “whether the death was incident to use of force by facility staff” and asking

 respondents “to specify the type of intoxication that led to the death”).


       Response: Undisputed.


           37.   Pub. L. No. 113-242, 128 Stat. 2860, ¶ 2 (2014) (“DCRA 2013”) requires states

 to report death-in-custody data and authorizes the Attorney General to deduct ten percent of

 certain federal law enforcement grants to states that violated their reporting requirements.


       Response: Undisputed, except that the penalty is “not more than” 10%, and the

requirements of DCRA 2013 are an issue of law not fact.


           38.   The Attorney General has not exercised that authority to date. AG Report at 11.


       Response: Undisputed.


           39.   DOJ has not assessed state compliance with DCRA reporting. PSI Report at 10.


       Response: Disputed. See AG Report 8-13.
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            40.   DCRA 2013 required the Attorney General to produce, within two years, a report

 that was to determine how the information provided by state and federal law enforcement

 agencies “can be used to reduce the number of such deaths,” and “examine the relationship, if

 any, between the number of such deaths and the actions of management of such jails, prisons, and

 other specified facilities relating to such deaths.” DCRA 2013 ¶ 2.


        Response: Undisputed, except that the requirements of DCRA 2013 are an issue of law

not fact.


            41.   The Attorney General has not produced the report to date. Uncounted Deaths in

 America’s Prisons & Jails: How the Department of Justice Failed to Implement the Death

 in Custody Reporting Act, Permanent Subcommittee on Intelligence, 5 (Sept. 20,

 2022),               https://www.hsgac.senate.gov/wp-content/uploads/imo/media/doc/2022-09-

 20%20PSI%20Staff%20Report%20-

 %20Uncounted%20Deaths%20in%20America's%20Prisons%20and%20Jails.pdf                        (“PSI

 Report”); Caruso Decl. ¶ 14.


        Response: Disputed. The Attorney General, through the National Institute of Justice,

issued a report to Congress pursuant to DCRA 2013’s report requirement in December 2022, and

is working on a second report which is anticipated to be delivered to DOJ for review in September

2024. See https://www.ojp.gov/pdffiles1/nij/305802.pdf.


            42.   In 2022, the Senate Permanent Subcommittee on Investigations found that “DOJ

 is failing to effectively implement DCRA 2013.” PSI Report at 1.


            Response: Undisputed.
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          43.   One reason for this finding was DOJ’s failure to issue the report required by

 DCRA 2013. PSI Report at 1, 5.


         Response: Undisputed. Defendant notes that DOJ submitted a report to Congress

pursuant to DCRA 2013’s report requirement in December 2022, after the PSI report.


          44.   In the AG Report, DOJ acknowledged that deaths in custody is “a profoundly

 important issue,” that growing awareness of it “has increased demands for criminal and juvenile

 justice reform,” and that complete and accurate data is essential to understand why deaths in

 custody occur and enact “policies and practices that may reduce deaths in custody.” AG Report

 at 1.


          Response: Undisputed.


          45.   In 2023, DOJ solicited and awarded over $2.5 million to states to support state

 and local facilities “to prevent, detect, and respond to sexual abuse and sexual harassment, as

 well as implement the National Prison Rape Elimination Act (PREA) Standards.” FY 2023

 Invited to Apply – Prison Rape Elimination Act (PREA Reallocation Funds Program, Bureau

 of Justice Assistance (2023), https://bja.ojp.gov/funding/opportunities/o-bja-2023-171782.


          Response: Undisputed.


          46.   In 2023, DOJ awarded over $3 million to the California Board of State and

 Community Corrections to address inmates’ substance use issues. 2023 Residential Substance

 Abuse Treatment (RSAT) grant program, Bureau of Justice Assistance (2023),

 https://bja.ojp.gov/funding/awards/15pbja-23-gg-01500-rsat.
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         Response: Undisputed.


         47.     In 2023, DOJ gave over $16 million to Texas that the state could spend on any

 number of issues, including, “jail or prison-based treatment programs,” among others. FY23

 Texas     JAG      Program,     Program,     Bureau     of    Justice    Assistance    (2023),

 https://bja.ojp.gov/funding/awards/15pbja-23-gg-03034-jagx.


         Response: Undisputed that DOJ made the referenced award, and that funds from the

award may be used to support jail or prison-based treatment programs. Defendant disputes

Plaintiff’s characterization that Texas could spend the award on “any number of issues.” The

purposes for which the grant may be spent are described at the link provided.


         48.     In 2023, DOJ solicited local applications for funding to address opiate-related

 problems. FY 2023 Comprehensive Opioid, Stimulant, and Substance Use Site-based Program

 (2023), https://bja.ojp.gov/funding/opportunities/o-bja-2023-171527.


         Response: Undisputed.


         49.     In 2023, DOJ awarded nearly a million dollars to Amador County, CA under the

 Comprehensive Opioid, Stimulant, and Substance Use Site-based Program. Comprehensive

 Opioid, Stimulant, and Substance Use Program (COSSUP) Award Information (2023),

 https://bja.ojp.gov/funding/awards/15pbja-23-gg-02368-coap.


         Response: Undisputed.


         50.     In 2023, DOJ awarded over $200,000 for substance use treatment programs at

 the Hiland Mountain Correctional Center and Wildwood Correctional Center. HMCC &
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 WWCC          Residential     Treatment       Program       Award        Information       (2023),

 https://bja.ojp.gov/funding/awards/15pbja-23-gg-01492-rsat.


        Response: Undisputed.


        51.     Disclosure of facility-level death can help identify troubling trends in prisons and

 jails. PSI Report at 17.


       Response: Undisputed that the PSI Report reached that conclusion.


        52.     The federal government may help state and local governments identify trends in

 inmate deaths and collectively “take corrective measures” to address them. PSI Report at 18.


       Response: Undisputed.


        53.     For example, the Senate Permanent Subcommittee on Investigations related a

 tragic story of an individual who committed suicide after being denied psychotropic

 medications. It turned out that the facility in which he was incarcerated had “more than double

 the national average of jail deaths.” The Subcommittee thus concluded that, with federal

 government data, DOJ and the facility could have together “identified the trend” and “take[n]

 corrective measures.” PSI Report at 18.


       Response: Undisputed that the PSI Report described the referenced incident and reached

the referenced conclusion.


        54.     DOJ has never before publicly reported facility-level death data. PSI Report at

 17.


        Response: Undisputed.
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         55.     According to the Senate Permanent Select Committee on Investigations, DOJ’s

 refusal to release death-in-custody data is “a missed opportunity to prevent avoidable deaths.”

 PSI Report at 6.


       Response: Undisputed that the PSI Report includes that conclusion.


         56.     The press has a critical role in “stepp[ing] in to attempt the data collection that

 DOJ is statutorily obligated and best situated to do.” PSI Report at 17.


       Response: Disputed. The PSI Report states that journalists and non-profit organizations

“have stepped in to attempt the data collection that DOJ is statutorily obligated and best situated

to do.” PSI Report at 17. It does not state that the press has a “critical role” in doing so. Any such

conclusion in the PSI Report about the role of the press is a matter of opinion rather than fact.


         57.     DOJ chose quasi-identifiers based on information it believed would be contained

 in inmate search directories, press releases, and news articles. Lauger Decl. ¶ 9, ECF No. 35-4.


       Response: Undisputed.


         58.     DOJ’s chosen quasi-identifiers are state, release/death date, facility, rate,

 admission date, and offense. Lauger Decl. ¶ 10.


       Response: Undisputed, except that DOJ also processed the notes column as a quasi-

identifier. Second Lauger Decl. ¶ 7.


         59.     For all 50 states, there are press releases and/or news articles containing deceased

 inmates’ name and facility at death. Barton Decl. Exs. 1-50.


       Response: Undisputed that at least one such press release or news article exists for all
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states. Disputed to the extent that Plaintiff seeks to imply that such press releases or news articles

exist for all or most deaths in custody, or that states routinely publish such information.


         60.     For most states, there are press releases and/or news articles also containing

 deceased inmates’ convictions or charges, age at death, and cause or manner of death. Barton

 Decl. Exs. 1-50.


       Response: Undisputed that at least one such press release or news article exists for some

states. Disputed to the extent that Plaintiff seeks to imply that such press releases or news articles

exist for all or most deaths in custody, or that states routinely publish such information


         61.     For several states, either the state itself, or a nonprofit consulting public records,

 has published a database containing much of the information DOJ withheld. Barton Decl. ¶ 9.


       Response: Undisputed that Florida, Illinois, Montana, and Texas publish some death-in-

custody information, and that nonprofits in Louisiana, South Carolina, and Missouri have

published records containing some death-in-custody information.


         62.     DOJ collected data under the MCI Program from each of the nation’s 50 state

 prison systems, Federal Bureau of Prisons, and approximately 2,800 local jail jurisdictions. See

 Mortality in Correctional Institutions (MCI) (Formerly Deaths in Custody Reporting Program

 (DCRP)), Bureau of Justice Statistics (2019), https://bjs.ojp.gov/data-collection/mortality-

 correctional- institutions-mci-formerly-deaths-custody-reporting-program#0-0.


       Response: Undisputed that BJS’ MCI website states that MCI collected data from the

sources listed. Disputed in so far as the reference to the “Federal Bureau of Prisons” on the MCI

website is a clerical error. Second Carson Decl. ¶ 5. BJS never collected MCI data from the
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Federal Bureau of Prisons. Id.


        63.     DOJ did not search for data submitted to the MCI Program by the federal Bureau

 of Prisons. Carson Decl. ¶ 15, ECF No. 35-3.


       Response: Undisputed. Defendant notes that it did not search for data submitted to the

MCI Program by the federal Bureau of Prisons because the MCI Program never collected data

from the Bureau of Prisons.


        64.     USA TODAY’s FOIA request seeks “all information” submitted to the MCI

 Program between 2010 and the date of the request. Caruso Decl. Ex. 1.


        Response: Undisputed.




Dated: June 7, 2024                                Respectfully submitted,

                                                   BRIAN M. BOYNTON
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                                                   Assistant Branch Director

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